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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
In re:
                                                                   Case No. 17-12560 (KJC)
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al.,1                                                           (Jointly Administered)

                                   Debtors.


WOODBRIDGE GROUP OF COMPANIES, LLC;
WOODBRIDGE STRUCTURED FUNDING, LLC;
WOODBRIDGE MORTGAGE INVESTMENT
FUND 1, LLC; WOODBRIDGE MORTGAGE                                   Adversary Proceeding
INVESTMENT FUND 2, LLC; WOODBRIDGE                                 Case No. 18-__________ (KJC)
MORTGAGE INVESTMENT FUND 3, LLC;
WOODBRIDGE MORTGAGE INVESTMENT
FUND 3A, LLC; WOODBRIDGE MORTGAGE
INVESTMENT FUND 4, LLC,

                                   Plaintiffs,

                        vs.

RICHARD R. FRITTS; SUNWEST TRUST AS
CUSTODIAN FOR RICHARD R. FRITTS IRA,

                                   Defendants.


           COMPLAINT OBJECTING TO CLAIMS AND COUNTERCLAIMING FOR
           AVOIDANCE AND RECOVERY OF AVOIDABLE TRANSFERS AND FOR
                  STATUTORY AND EQUITABLE SUBORDINATION




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         The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks,
California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
undersigned counsel for the Debtors.




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                The Woodbridge Group of Companies, LLC and its above-captioned co-plaintiffs,

debtors and debtors in possession (collectively, “Plaintiffs”), hereby allege for their Complaint as

follows:

                                  NATURE OF THE ACTION

           1.   At least since August 2012 until shortly before they sought bankruptcy protection,

the Plaintiffs and their many hundreds of debtor affiliates (collectively with Plaintiffs, the

“Debtors”) were operated by their founder and principal, Robert Shapiro (“Shapiro”), as a Ponzi

scheme. As part of this fraud, Shapiro utilized the Debtors to raise over one billion dollars from

approximately 10,000 investors as either Noteholders or Unitholders (collectively, “Investors”).

           2.   Those Investors often placed a substantial percentage of their net worth (including

savings and retirement accounts) with the Debtors and now stand to lose a significant portion of

their investments and to be delayed in the return of the remaining portion. The quality of the

Investors’ lives will likely be substantially and adversely affected by the fraud perpetrated by

Shapiro.

           3.   Investors were often told that they were investing money to be loaned with

respect to particular properties owned by third parties, that those properties were worth

substantially more than the loans against the properties, and that they would have the benefit of a

stream of payments from these third parties for high-interest loans, protected by security interests

and/or mortgages against such properties. In reality, these statements were lies. Investors’

money was almost never used to make high-interest loans to unrelated, third-party borrowers,

there was no stream of payments, Investors’ money was commingled and used for an assortment

of expenses, including maintaining a lavish lifestyle for Shapiro and his family, brokers’

commissions, overhead (largely for selling even more notes and units to investors), and payment




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of principal and interest to existing investors. The money that was used to acquire property

(almost always owned by a disguised affiliate) cannot be traced to any specific Investor. These

are typical characteristics of Ponzi schemes.

           4.   Because the Debtors operated as a Ponzi scheme, obtaining new money from

Investors into the Ponzi scheme conferred no net benefit on the Debtors; on the contrary, each

new investment was a net negative. Money was siphoned off to pay the expenses described

above, so that the Debtors actually received only a fraction of the investment dollars. New

money also perpetuated the Ponzi scheme, enabling the Debtors to return fictitious profits to

early Investors; in the absence of new investment, the house of cards would fall (as it eventually

did). At the same time, each investment created an obligation to return to the defrauded Investor

100% of the investment, such that each new investment increased the Debtors’ liabilities and

ultimately left them unable to satisfy their aggregate liabilities.

           5.   The purpose of this lawsuit is (i) to object to the Claims (defined below) so that

Claimant (defined below) is not further compensated at the expense of legitimate creditors for

activities that advanced the Ponzi scheme and further drove the Debtors into insolvency, (ii) to

recover monies previously paid to Claimant by reason of these activities or as fictitious profits on

Claimant’s Note/Unit Claims (as defined below), and (iii) to the extent the Claims, or any new or

amended claims, survive, to subordinate them pursuant to Bankruptcy Code (as defined below)

section 510(b) and/or 510(c).

                                  JURISDICTION AND VENUE

           6.   The Court has jurisdiction over this action under 28 U.S.C. §§ 157(a) and 1334,

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated as of February 29, 2012. This adversary proceeding is a core




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proceeding within the meaning of 28 U.S.C. § 157(b)(2)(B), (C), (F), and (H). In any event,

Plaintiffs consent to entry of final orders or judgment by the bankruptcy court. Venue of this

adversary proceeding is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                  GENERAL BACKGROUND

           7.    On December 4, 2017 (the “Petition Date”), Plaintiffs commenced voluntary

cases under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”). Other of the Debtors also filed voluntary chapter 11 cases either on the

Petition Date or within the following four months (collectively with Plaintiffs’ cases, the

“Bankruptcy Cases”).

           8.    The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or

examiner has been appointed in these cases.

           9.    These cases are being jointly administered for procedural purposes pursuant to

Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                  FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

           10.   Richard R. Fritts and Sunwest Trust as Custodian for Richard R. Fritts IRA

(together, “Claimant”) have filed the following claims (collectively, the “Claims”) in one or

more of the Bankruptcy Cases:

                    a. Richard R. Fritts filed Claim No. 7778 (the “Commission Claim”) for

                        $13,145.83. Claimant asserts that the Commission Claim is entitled to

                        priority under Bankruptcy Code section 507(a)(4) up to the statutory limit

                        of $12,850.00.




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                    b. Richard R. Fritts filed Claim Nos. 9339, 9340, 9341, 9342, 9343, and

                        9344 (collectively, the “Indemnity Claims”) in the amount of “unknown.”

                        The stated basis for the Indemnity Claims is: “Indemnity Claim[s] and/or

                        Contingent Claim(s) relating to third party lawsuits brought against

                        claimant.”

                    c. Sunwest Trust as Custodian for Richard R. Fritts IRA filed Claim Nos.

                        5832, 5833, 5837, 9319 (which amends Claim No. 5832), 9328 (which

                        amends Claim No. 5833), and 9331 (which amends Claim No. 5837)

                        (collectively, the “Note/Unit Claims”). Claimant asserts that each of the

                        Note/Unit Claims is a fully secured claim.

           11.   Plaintiffs are informed and believe that Claimant seeks recovery on the

Commission Claim based upon Claimant’s activities that generated investments in the Debtors.

In particular, Richard R. Fritts was an external broker (i.e., not an employee of the Debtors) who

marketed Notes and/or Units to potential Investors.

           12.   Plaintiffs are informed and believe and thereupon allege that within the 90 days

preceding the Petition Date, Claimant received transfers totaling not less than $150,002.08, or

more according to proof (the “90 Day Transfers”), including prepetition distributions of fictitious

profits from the Ponzi scheme in respect of the Note/Unit Claims. The precise transfers –

including the transferor, its petition date, the date of each transfer, and the amount of each

transfer – are set forth on Exhibit 1.

           13.   Plaintiffs are informed and believe and thereupon allege that within the two years

preceding the Petition Date, Claimant received transfers totaling not less than $658,423.75, or

more according to proof (the “Two Year Transfers”), including prepetition distributions of




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fictitious profits from the Ponzi scheme in respect of the Note/Unit Claims. The precise transfers

– including the transferor, its petition date, the date of each transfer, and the amount of each

transfer – are set forth on Exhibit 2. The Two Year Transfers are inclusive of the 90 Day

Transfers, but Plaintiffs do not seek to recover the same sum more than once.

           14.   Plaintiffs are informed and believe and thereupon allege that within the four years

preceding the Petition Date, Claimant received transfers totaling not less than $971,502.51, or

more according to proof (the “Four Year Day Transfers”), including prepetition distributions of

fictitious profits from the Ponzi scheme in respect of the Note/Unit Claims. The precise transfers

– including the transferor, its petition date, the date of each transfer, and the amount of each

transfer – are set forth on Exhibit 3. The Four Year Transfers are inclusive of the Two Year

Transfers and the 90 Day Transfers, but Plaintiffs do not seek to recover the same sum more than

once.

                                   FIRST CLAIM FOR RELIEF

                                        Objection to Claims

           15.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 14, as if fully set

forth herein.

           16.   Plaintiffs’ obligation to honor and/or satisfy the Claims is unenforceable and/or

avoidable for multiple reasons, as set forth below in paragraphs 17 through 21, including

subparts thereof. Any of the reasons set forth in said paragraphs, including subparts thereof, is

individually a basis for disallowance of the Claims.

           17.   Without shifting the burdens of proof or persuasion, which remain on Claimant,

Plaintiffs are informed and believe and thereupon allege that their obligation, if any, to honor and

satisfy the Commission Claim is unenforceable, in whole or in part, under applicable




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nonbankruptcy law (other than because the Commission Claim is contingent or unmatured); thus,

the Commission Claim is not allowable under Bankruptcy Code section 502(b)(1). The

nonbankruptcy law deficiencies include, without limitation, the following:

                    a. There was no agreement for paying commissions; and/or

                    b. Claimant was not properly licensed to sell securities; and/or

                    c. Any payment of commissions would constitute unjust enrichment; and/or

                    d. Any obligation to compensate Claimant for activities that perpetuated a

                        fraud is contrary to public policy; and/or

                    e. Recovery is barred by the doctrines of in pari delicto and/or unclean

                        hands.

           18.   Without shifting the burdens of proof or persuasion, which remain on Claimant,

Plaintiffs are informed and believe and thereupon allege that their obligation, if any, to honor and

satisfy the Indemnity Claims is unenforceable, in whole or in part, under applicable

nonbankruptcy law (other than because the Indemnity Claims are contingent or unmatured); thus,

the Indemnity Claims are not allowable under Bankruptcy Code section 502(b)(1). The

nonbankruptcy law deficiencies include, without limitation, the following:

                    a. There was no agreement for paying defense, indemnity, reimbursement

                        and/or contribution and no applicable nonbankruptcy law obligates the

                        Plaintiffs to satisfy such claims; and/or

                    b. Providing Claimant defense, indemnity, reimbursement and/or

                        contribution is contrary to public policy; and/or




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                    c. Claimant was not properly licensed to sell securities and is, therefore,

                        ineligible to obtain defense, indemnity, reimbursement and/or contribution

                        as a matter of applicable nonbankruptcy law; and/or

                    d. Recovery is barred by the doctrines of in pari delicto and/or unclean

                        hands; and/or

                    e. The Indemnity Claims are duplicative of one another, and Claimant is

                        entitled to, at most, one recovery on account of the Indemnity Claims.

           19.   Plaintiffs’ obligations, if any, to honor and satisfy the Commission Claim and the

Indemnity Claims were incurred in a manner which is avoidable under Bankruptcy Code section

548 because:

                    a. The obligations were incurred by the Plaintiffs with actual intent to hinder

                        or delay or defraud their creditors insofar as the services to be provided in

                        exchange for such obligations would perpetuate a Ponzi scheme; and/or

                    b. The obligations were incurred by the Plaintiffs for less than reasonably

                        equivalent value at a time when the Plaintiffs were insolvent; and/or

                    c. The obligations were incurred by the Plaintiffs for less than reasonably

                        equivalent value at a time when the Plaintiffs were engaged or about to

                        engage in business or a transaction for which any capital remaining with

                        the Plaintiffs was an unreasonably small capital; and/or

                    d. The obligations were incurred by the Plaintiffs for less than reasonably

                        equivalent value at a time when the Plaintiffs intended to incur, or

                        believed that they would incur, debts beyond their ability to pay as such

                        debts matured.




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           20.   The Commission Claim and the Indemnity Claims are, therefore, premised

entirely on avoidable obligations under Bankruptcy Code section 548(a) and not allowable.

           21.   The Claims are further not allowable because:

                    a. Claimant has received property, including one or more of the 90 Day

                           Transfers, the Two Year Transfers or the Four Year Transfers, recoverable

                           under Bankruptcy Code section 550; and/or

                    b. Claimant has received a transfer, including one or more of the 90 Day

                           Transfers, the Two Year Transfers or the Four Year Transfers, avoidable

                           under Bankruptcy Code section 544 or section 547 or section 548.

                 In either event, the Claims must be disallowed under Bankruptcy Code section

                 502(d).

                                   SECOND CLAIM FOR RELIEF

                        Avoidance and Recovery of Preferential Transfers

           22.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 12, as if fully set

forth herein.

           23.   The 90 Day Transfers constituted transfers of the Plaintiffs’ property.

           24.   The 90 Day Transfers were made to or for the benefit of Claimant on account of

an antecedent debt and while the Plaintiffs were insolvent. The affirmative assertion that the

Plaintiffs were insolvent at the times of the 90 Day Transfers is not intended and does not shift

the burden of proof or alter the presumption of insolvency provided by Bankruptcy Code section

547(f).




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           25.   By virtue of the 90 Day Transfers, Claimant received more than Claimant would

have received if the 90 Day Transfers had not been made and Claimant received a distribution

pursuant to a chapter 7 liquidation.

           26.   As a result of the foregoing, Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code sections 547(b), 550(a), and 551: (a) avoiding the 90 Day Transfers free and

clear of any interest of Claimant, (b) directing that the 90 Day Transfers be set aside, and (c)

recovering the 90 Day Transfers or the value thereof from Claimant for the benefit of the estates

of the Plaintiffs.

                                  THIRD CLAIM FOR RELIEF

     Avoidance and Recovery of Actual Intent Fraudulent Transfers – Bankruptcy Code

           27.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 13, as if fully set

forth herein.

           28.   The Two Year Transfers constituted transfers of the Plaintiffs’ property.

           29.   The Two Year Transfers were made by the Plaintiffs with actual intent to hinder

or delay or defraud their creditors insofar as either (i) the services to be provided in exchange for

such transfers would perpetuate a Ponzi scheme, or (ii) such transfers were prepetition

distributions of fictitious profits from the Ponzi scheme in respect of the Note/Unit Claims.

           30.   The Two Year Transfers were made to or for the benefit of Claimant.

           31.   As a result of the foregoing, the Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code sections 548(a), 550(a), and 551: (a) avoiding the Two Year Transfers free and

clear of any claimed interest of Claimant, (b) directing that the Two Year Transfers be set aside,

and (c) recovering such Two Year Transfers or the value thereof from Claimant for the benefit of

the estate of the Plaintiffs.




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                                 FOURTH CLAIM FOR RELIEF

     Avoidance and Recovery of Constructive Fraudulent Transfers – Bankruptcy Code

           32.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 13, as if fully set

forth herein.

           33.   The Two Year Transfers constituted transfers of the Plaintiffs’ property.

           34.   The Two Year Transfers were made by the Plaintiffs for less than reasonably

equivalent value at a time when the Plaintiffs (i) were insolvent; and/or (ii) were engaged or

about to engage in business or a transaction for which any capital remaining with the Plaintiffs

were an unreasonably small capital; and/or (iii) intended to incur, or believed that Plaintiffs

would incur, debts beyond their ability to pay as such debts matured.

           35.   The Two Year Transfers were made to or for the benefit of Claimant.

           36.   As a result of the foregoing, the Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code sections 548(a), 550(a), and 551: (a) avoiding the Two Year Transfers free and

clear of any claimed interest of Claimant, (b) directing that the Two Year Transfers be set aside,

and (c) recovering such Two Year Transfers or the value thereof from Claimant for the benefit of

the estate of the Plaintiffs.

                                   FIFTH CLAIM FOR RELIEF

           Avoidance and Recovery of Actual Intent Voidable Transactions – State Law

           37.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 14, as if fully set

forth herein.

           38.   The Four Year Transfers constituted transfers of the Plaintiffs’ property.

           39.   The Four Year Transfers were made by the Plaintiffs with actual intent to hinder

or delay or defraud their creditors insofar as either (i) the services to be provided in exchange for




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such transfers would perpetuate a Ponzi scheme, or (ii) such transfers were prepetition

distributions of fictitious profits from the Ponzi scheme in respect of the Note/Unit Claims.

           40.   The Four Year Transfers were made to or for the benefit of Claimant.

           41.   Plaintiffs that made one or more of the Four Year Transfers have at least one

creditor with an allowable unsecured claim for liabilities, which claim remained unsatisfied as of

the Petition Date.

           42.   The Four Year Transfers are avoidable under applicable law – California Civil

Code section 3439.04(a)(1) and/or comparable provisions of law in other jurisdictions that have

adopted the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act or the

Uniform Fraudulent Conveyance Act – by a creditor holding an allowed unsecured claim and

thus by the Plaintiffs pursuant to Bankruptcy Code section 544(b).

           43.   As a result of the foregoing, the Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code sections 544(b), 550(a), and 551: (a) avoiding the Four Year Transfers free and

clear of any claimed interest of Claimant, (b) directing that the Four Year Transfers be set aside,

and (c) recovering such Four Year Transfers or the value thereof from Claimant for the benefit of

the estate of the Plaintiffs.

                                   SIXTH CLAIM FOR RELIEF

           Avoidance and Recovery of Constructive Voidable Transactions – State Law

           44.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 14, as if fully set

forth herein.

           45.   The Four Year Transfers constituted transfers of the Plaintiffs’ property.

           46.   The Four Year Transfers were made by the Plaintiffs for less than reasonably

equivalent value at a time when the Plaintiffs (i) were insolvent; and/or (ii) were engaged or were




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about to engage in business or a transaction for which any capital remaining with the Plaintiffs

were an unreasonably small capital; and/or (iii) intended to incur, or believed that they would

incur, debts beyond their ability to pay as such debts matured.

           47.   The Four Year Transfers were made to or for the benefit of Claimant.

           48.   At the times of, and/or subsequent to, each of the Four Year Transfers, each

Plaintiffs that made one or more of the Four Year Transfers has at least one creditor with an

allowable unsecured claim for liabilities, which claim remained unsatisfied as of the Petition

Date.

           49.   The Four Year Transfers are avoidable under applicable law – California Civil

Code section 3439.04(a)(2) and/or comparable provisions of law in other jurisdictions that have

adopted the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act or the

Uniform Fraudulent Conveyance Act – by a creditor holding an allowed unsecured claim and

thus by the Plaintiffs pursuant to Bankruptcy Code section 544(b).

           50.   As a result of the foregoing, the Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code sections 544(b), 550(a), and 551: (a) avoiding the Four Year Transfers free and

clear of any claimed interest of Claimant, (b) directing that the Four Year Transfers be set aside,

and (c) recovering such Four Year Transfers or the value thereof from Claimant for the benefit of

the estate of the Plaintiffs.

                                SEVENTH CLAIM FOR RELIEF

                           Statutory Subordination of Indemnity Claims

           51.   Plaintiffs reallege and incorporate herein Paragraphs 1 through 11, as if fully set

forth herein.




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           52.   The Indemnity Claims, to the extent allowable under applicable nonbankruptcy

law, are for reimbursement or contribution on account of (a) claims by a non-party or non-parties

to this adversary proceeding who purchased notes and/or units sold by one or more of the

Debtors and who is or are seeking recovery of or damages arising from the purchase of a security

(i.e., notes and/or units) of one or more of the Debtors.

           53.   Subordination of the Indemnity Claims to all claims and interests of the non-party

or non-parties referenced in paragraph 52 and to all other non-party claimants whose claims are

accorded the same priority and classification is required by Bankruptcy Code section 510(b).

           54.   As a result of the foregoing, Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code section 510(b) subordinating any and all claims for defense, indemnity,

reimbursement and/or contribution that Claimant may assert against any of the Debtors to all

claims and interests of the non-party or non-parties referenced in paragraph 52 and to all other

non-party claimants whose claims are accorded the same priority and classification.

                                 EIGHTH CLAIM FOR RELIEF

                                Equitable Subordination of Claims

           55.   The Plaintiffs reallege and incorporate herein Paragraphs 1 through 11, as if fully

set forth herein.

           56.   By providing services that helped perpetuate a Ponzi scheme, Claimant engaged

in inequitable conduct.

           57.   Claimant’s inequitable conduct has resulted in injury to the Debtors’ estates and

their other creditors and/or has conferred an unfair advantage on Claimant.

           58.   Principles of equitable subordination require that any claims asserted by Claimant

be equitably subordinated to all other claims against the Debtors.




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           59.   Equitable subordination as requested herein is consistent with the provisions and

purposes of the Bankruptcy Code.

           60.   As a result of the foregoing, the Plaintiffs are entitled to judgment pursuant to

Bankruptcy Code section 510(c) equitably subordinating any and all claims that Claimant may

assert against any of the Debtors, whatever the origin of those claims, including, without

limitation, the Note/Unit Claims and any claims that may be asserted under Bankruptcy Code

section 502(h), to all other claims against the Debtors.

                                      PRAYER FOR RELIEF

           WHEREFORE, by reason of the foregoing, Plaintiffs request that the Court enter

judgment:

                        (1)    On the first claim for relief, sustaining the objection to the Claims,
                        decreeing that Claimant take nothing thereon, and directing the Claims
                        Agent to strike Claim Nos. 5832, 5833, 5837, 7778, 9319, 9328, 9331,
                        9339, 9340, 9341, 9342, 9343, and 9344 from the official Claims Register;

                        (2)    On the second claim for relief, (a) avoiding the 90 Day Transfers
                        free and clear of any interest of Claimant, (b) directing that the 90 Day
                        Transfers be set aside, and (c) ordering Claimant to pay to the Plaintiffs
                        $150,002.08;

                        (3)     On the third and fourth claims for relief, (a) avoiding the Two Year
                        Transfers free and clear of any claimed interest of Claimant, (b) directing
                        that the Two Year Transfers be set aside, and (c) ordering Claimant to pay
                        to the Plaintiffs $658,423.75;

                        (4)     On the fifth and sixth claims for relief, (a) avoiding the Four Year
                        Transfers free and clear of any claimed interest of Claimant, (b) directing
                        that the Four Year Transfers be set aside, and (c) ordering Claimant to pay
                        to the Plaintiffs $971,502.51;

                        (5)     On the seventh claim for relief, subordinating the Indemnity
                        Claims, to the extent that they seek defense, indemnity, reimbursement
                        and/or contribution, to all claims of all persons who have allowed claims
                        for the recovery of or damages arising from the purchase of a security
                        (including notes and/or units) of one or more of the Debtors and to all
                        other non-party claimants whose claims are accorded the same priority and
                        classification


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                      (6)     On the eighth claim for relief, equitably subordinating any and all
                      claims that Claimant may assert against any of the Debtors, whatever the
                      origin of those claims, including, without limitation, the Note/Unit Claims
                      and any claims that may be asserted under Bankruptcy Code section
                      502(h), to all other claims against the Debtors; and

                      (7)      On all claims for relief, awarding the Plaintiffs prejudgment
                      interest as permitted by law, costs of suit, and such other and further relief
                      as is just and proper.

Dated:     September 17, 2018          /s/ Michael S. Neiburg                .
           Wilmington, Delaware        YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                       Sean M. Beach (No. 4070)
                                       Edmon L. Morton (No. 3856)
                                       Michael S. Neiburg (No. 5275)
                                       Ian J. Bambrick (No. 5455)
                                       Rodney Square, 1000 North King Street
                                       Wilmington, Delaware 19801
                                       Tel: (302) 571-6600
                                       Fax: (302) 571-1253
                                       -and-
                                       KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                       Kenneth N. Klee (pro hac vice)
                                       Michael L. Tuchin (pro hac vice)
                                       David A. Fidler (pro hac vice)
                                       Jonathan M. Weiss (pro hac vice)
                                       1999 Avenue of the Stars, 39th Floor
                                       Los Angeles, California 90067

                                       Counsel to the Debtors and Debtors in Possession




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